                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION

KAREN RIGGINS,                    )
                                  )
               Plaintiff,         )
                                  )                        No. 1:11-cv-00030
V.                                )                        Jury Demand
                                  )                        Judges Sharp/Knowles
FIRST FARMERS AND MERCHANTS BANK, )
                                  )
               Defendant.         )


                                    ORDER OF DISMISSAL

       Upon plaintiff’s request pursuant to Fed. R. Civ. P. 41(a)(2), it is ORDERED that this

case is dismissed with prejudice.


                                            ________________________________
                                            JUDGE KEVIN H. SHARP

APPROVED FOR ENTRY BY:


 /s/ Stephen W. Grace
Stephen W. Grace (TN14867)
1019 16th Avenue South
Nashville, Tennessee 37212
(615) 255-5225
sgrace@sgracelaw.com
Attorney for Plaintiff

                                CERTIFICATE OF SERVICE

        I hereby certify that on November 24, 2011, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court's electronic filing
system to all parties indicated on the electronic filing receipt, including Mary Dohner Smith,
Esq. and Marcia McShane Watson, Esq., Constangy, Brooks & Smith, LLP, 401 Commerce
Street, Suite 700, Nashville, Tennessee 37219. Parties may access this filing through the Court's
electronic filing system.

                                                    /s/ Stephen W. Grace




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